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     Sarah Shapero (Bar No. 281748)
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     100 Pine St., Ste. 530
 2   San Francisco, California 94111
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 3   Facsimile: (415) 358-4116
 4   Attorney for Plaintiff,
     SHOUSHAN P. TASHJIAN
 5

 6
                                 UNITED STATES DISTRICT COURT
 7
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
 8

 9    VAHE TASHJIAN, an individual,                       Case No. 5:19-cv-01536-EJD
                                                          Case No. 5:20-cv-08816-EJD
10                  Plaintiff,
                                                          PLAINTIFF’S NOTICE OF POSTING
11           v.                                           BOND
12    INVICTUS RESIDENTIAL POOLER – 2A, a
      Delaware company, RECOVCO MORTGAGE
13    MANAGEMENT, LLC, a Delaware limited
      liability company; SPROUT MORTGAGE
14    CORPORATION, a Delaware corporation,
      SPECIALIZED LOAN SERVICING LLC a
15    Delaware limited liability company; NEW PENN
      FINANCIAL LLC DBA SHELLPOINT
16    MORTGAGE SERVICING, a Delaware limited
      liability company; et al.
17                  Defendant

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                                       PLAINTIFF’S NOTICE OF POSTING BOND
       Case 5:19-cv-01536-EJD Document 125 Filed 02/22/22 Page 2 of 6



 1          TO THE COURT, DEFENDANT, AND THEIR COUNSEL OF RECORD:

 2   NOTICE IS HEREBY GIVEN that on February 16, 2022 in the matter of Tashjian v. Planet

 3   Home Lending, LLC, case number 20CV371971, as ordered on the December 9, 2020 Motion for

 4   Preliminary Injunction hearing, Plaintiff has posted bond of $304,000 to the Santa Clara County

 5   Court. On February 22, 2022, the bond was issued in favor of US District Court of the Northern

 6   District. Exhibit A attached hereto is a true and correct copy bond payment receipt.

 7   DATED: February 22, 2022                     Respectfully submitted,
 8
                                                  SHAPERO LAW FIRM
 9
                                                   /s/ Sarah Shapero
10                                                Sarah Shapero, Esq.
                                                  Attorney for Plaintiff,
11                                                SHOUSHAN P. TASHJIAN

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                                       PLAINTIFF’S NOTICE OF POSTING BOND
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                     EXHIBIT A
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                                                     INJUNCTION BOND
                                                                                                Case No.     1-,0 c__V '3 7 \ 9. -Z \
                                                                                                      Bond # 107578585


KNOW ALL BY THESE PRESENTS:

That we, VAHETASWIAN

as Principal(s), and Travelers Casualty and Surety Company or America                                                                 ,a

corporation authorized to transact surety business in the State of L:UNNECl'IL:UT, as Surety, are held

and firmly bound unto Superior Court or The State of California - County of Santa Clara            , as Obligee, in the maximum

penal sum of Three Hundred and Four Thousand

    $304,000.00  ) DOLLARS, lawful money of the United States of America, for the payment of which,
well and truly to be made, we bind ourselves, our heirs, legal representatives, successors and assigns,
jointly and severally, firmly by these presents.


Whereas, the above named plaintiff has duly applied to this court for a writ of injunction against the
defendant in this action, according to the statute in such cases provided.


NOW THEREFORE, THE CONDITION OF THIS OBLIGATION IS SUCH, That, if the said plaintiff shall pay
the said defendant such damages as he sustains by reason of said temporary injunction, if the Court
finally decided that the said plaintiff is not entitled thereto (or to either or any of them, if more than one
defendant), then this obligation shall be void, otherwise to remain in force and effect.


SIGNED AND SEALED this _ 1_6_ _ _ day of February


                                                                  VAHETASBJIAN



                                                                 By--#-~~L--- -                                          Principal

                                                                  Travelers Casualty 1111d Surety Company of America




                                                                                                               Attorney-in-Fact


                                                                                                               Producer Name
                                                                                                             (Required in Arizona Only)
  TRAVELERS J
                         ....
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                             Trawllrsc.-allyMds.ntyC-.-,olAnmia
                                                                              Trawlenc-al!Jand SumyCompanJ
                                                                              St. Paul Fh and Matne lMnnca CalllpanJ
                                                                              Fanalngllln(amaltJC....-,
                                                                 POWER OF ATTORNEY
KNOW ALL IIEN BY THESE PRESENTS: That Travelers Casualty and Surety Company of America, Travelers Casualty and Surety Company, SI. Paul
Fire and Marine Insurance Company, and Fannlngton Casualty Company are corporations duly organiZed under the laws of the Slate of Connecticut
(herein aillectiveJy called the "Companies"), and that the Companies do hereby make, constitute and appoint Ruuell E. Vance, of Hartford, CT, their
true and lawful Attomey(s)-ln-Fact, to sign, execute, seal and acknowledge the followlng bond:


  Surety Bond No.: 107578585                                     Principal: VAHE TASHJIAN
IN WITNESS WHEREOF, the Comparies have caused this Instrument to be signed and lhei" co,porale seals to be hereto affixed, this 21st day of
Aprt~ 2021.




Stale of Connedirut


                                                                                                       By:_ ~         - -
City of Hartford ss.                                                                                           Robert L. Raney, Senior Vice President

On this the 21st day of Aprtl, 2021, before me personally appeared Robert L Raney, who acknowledged himself to be the Senior Vice President of
each of the Companies, and that he, as such, being authorized so to do, exearted the foregoing inslnnnent for the purposes therein conlained by
signing on behalf of said Companies by hmself as a duty authorized officer.
IN WITNESS WHEREOF, I hereunto set my hand and official seal.

My Commission e,cpires the 30th day of June, 21126                                           ffy;)~_~_l'U_·_
                                                                                                                    Anna P. Nowik, Notary Public
This Power of Attorney is granted under and by the authority of the followlng resolutions adopted by the Boards of o.ecto,s of each of the Companies,
which resolutions are now in full fon:e and effect, reading as follows:
  RESOLVED, that the Chainnan, the President, any Vice Chainnan, any Executive Voce President, any Senior Voce President, any V,ce President,
  any Second Vice President, the Treasurer, any Assislant Treasurer, the Corporate Seaelary or any Assislant Seaetary may appoint Attomeys-in-
  Fact and Agents to act for and on behalf of the Company and may give such appointee such authority as his or her certificate of authority may
  presaibe to sign with the Company's name and seal with the Company's seal bonds, recognizances, contracts of indemnity, and other writings
  obligatory in the nature of a bond, recognizance, or conditional undertaking, and any of said officers or the Board of Directors at any time may
  remove any such appointee and revoke the power given him or her, and It is
  FURTHER RESOLVED, that the Chairman, the President. any Voce Chairman, any Executive Vice President, any Senior Vice President or any Voce
  President may delegate all or any part of the foregoing authority to one or more officers or employees of this Company, provided that each such
  delegation is in writing and a copy thereof is filed in the office of the Seaetary; and It is

  FURTHER RESOLVED, that any bond, recognizance, contract of indemnity, or writing obligatory in the nature of a bond, recognizance, or conditional
  undertaking shall be valid and binding upon the Company when (a) signed by the President, any V,ce Chairman, any Executive Voce President, any
  Senior Vice President or any Voce President any Second Vice President the Treasurer, any Assistant Treasurer, the Corporate Seaetary or any
  Assislant Seaetary and duly attested and sealed with the Company's seal by a Seaetary or Assistant Seaetary; or (b) duly exeruted (under seal, if
  required) by one or more Attorneys-in-Fact and Agents pursuant to the power prescribed in his or her certificate or their certificates of authority or by
  one or more Company officers pursuant to a written delegation of authority; and is
  FURTHER RESOLVED, that the signature of each of the following officers: President, any Executive Voce President, any Senior V,ce President any
  Vice President any Assistant Vice President any Seaetary, any Assistant Seaetary, and the seal of the Company may be affixed by facsimile to
  any Power of Attorney or to any certificate relating thereto appointing Resident Vice Presiden1s, Resident Assistant Seaelaries or Attorneys~n-Fact
  for purposes only of executing and attesting bonds and undertakings and other writings obligatory in the nature thereof, and any such Power of
  Attorney or certificate bearing such facsimile signature or facsimile seal shall be valid and binding upon the Company and any such power so
  executed and certified by such facsimile signature and facsimile seal shall be valid and binding on the Company in the future with respect to any
  bond or understanding to which It is attached.

I, Kevin E. Hughes, the undersigned, Assistant Seaetary of each of the Companies, do hereby certily that the above and foregoing is a true and
correct copy of the Power of Attorney executed by said Companies, which remains in full fon:e and effect.

Dated this 02 day of February, 2022.




                                                                                                               KM, E.   Hughes, Assistant Seaetary

                              To verify the authenlkity of this Power of AltDmey, please call us at 1-100-421-300.
         Please refer to the above-named AltDmey(s}-ln-Fact and the details of the bond to which this Power of AltDmey is attxhed.
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 TRAVELERS J                                                                                       License No. _ _ _ _ _ _ _ __

                                                                       RIDER

To be attached to and form part of Bond No . ..,l..,,07""'5""'7"'8""58=5'---------

Issued on behalf of -'-V-=ah=e:...:T:.::u==b,.Jlan==-------------------- as Principal, and in favor of
US District Court for the Northern District of California                                  as Obligee.

It is agreed that:

D    1. The Surety hereby gives its consent to change the Name:

           from:----------------------------------
           to: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
0    2. The Surety hereby gives its consent to change the Address:
           from: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           to:-----------------------------------

lg) 3. The Surety hereby gives its consent to change the ..,,O,,,b:..Iig,aee=-----------------
           from: Superior Court of the State of California- County of Santa Clara
           to:   us District Court for the Northern District of California
     4. This rider shall become effective as of _ _F""e,..b..ru...,..ai:y'+-'2..,2,._,.,202.....,2.___

PROVIDED, however, that the liability of the Surety under the attached bond as changed by this Rider shall not be
cumulative.

Signed, sealed and dated _ __,F"-'e=b=ru=ary=--=22=•~2=02=2'--_

                                                                             Travelen Cuualty ud Surety Company of America




                                                                                                                 Attorney-in-Fact


Accepted:    USDlotrlctCoart ror llloNortun Dlmlcl ofCallfonda
                 Obligee                                                o PnnctIJ
                                                                          rvu~~

By: _ _ _ _ _ _ _ _ _ _ _ __                                           By: _ _: ; _ _ _ - , I C - - - - - - - - - - - -




S-4111 (8/66)
